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 6
 7
                          IN THE UNITED STATES DISTRICT COURT

 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                              ) Case No.: 2:11 CR 210 JAM
10   UNITED STATES OF AMERICA,                )
                                              ) STIPULATION AND ORDER TO
11                 Plaintiff,                 ) RELEASE PROPERTY AND SURETY
                                              ) SECURING BAIL BOND AND ORDER
12          v.                                ) EXONERATING BAIL AS TO
                                              ) DEFENDANT PETER KUZMENKO
13   PETER KUZMENKO                           )
                                              )
14                 Defendants.                )
15
                   On or about August 9, 2011 Mr. Kuzmenko was arrested on an indictment
16
17   alleging Mortgage Fraud in case 11 CR 210 JAM. On September 27, 2011, Mr.
18   Kuzmenko was released on conditions, including attending the EFFORT and the posting
19
     of property as security.
20
21          On or about October 25, 2011 Mr. Kuzmenko was indicted in case 11 CR 450

22   TLN on a another Mortgage Fraud case involving the same time frame as in case 11 CR
23
     210 JAM. On October 25, 2011 a detention hearing was held and Mr. Kuzmenko was
24
25   allowed to remain out of custody on the same terms and conditions as case 11 CR 210

26   JAM.
27
28


                                               1
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            Approximately 29 months later, on or about March 5, 2014 Mr. Kuzmenko was
 1
 2   indicted in case 14 CR 044 MCE on a charge of conspiracy to defraud. The specific
 3
     allegation against Mr. Kuzmenko is “beginning on or about February 18, 2009, Petr
 4
     Kuzmenko used Pete’s Pool Service bank account to receive multiple federal tax refunds
 5
 6   based on false, fictitious and fraudulent tax returns claiming the FTHBC that were filed
 7   using Alksandr Kuzmenko’s unique EFIN.” Again Mr. Peter Kuzmenko was released,
 8
     this time on a $100,000 unsecured bond.
 9
10          On or about June 23, 2014 Mr. Kuzmenko used a combination of strong

11   prescription medication, heroin and alcohol. The result caused him to be transported to
12
     the hospital on a drug over dose.
13
14          As a result Mr. Kuzmenko was remanded and has remained in custody since then.

15   Subsequently, Mr. Kuzmenko has been convicted of several offenses in 11 CR 210 JAM
16
     and 11 CR 450 TLN. Mr. Kuzmenko is awaiting sentencing in those matters.
17
18
            One of the properties that was used to secure Mr. Kuzmenko’s release was a

19   property owned by his brother Nikolai Kuzmenko – with a property located at 6641 West
20
     4th Street, Rio Linda, CA 956814.
21
            On behalf of his brother, Mr. Kuzmenko seeks to have the lien against the property
22
23   located at 6641 West 4th Street, Rio Linda released. The Government has no objection to
24
     releasing the lien against Mr. Nikolai Kuzmenko’s property.
25
     Dated: July 20, 2015                      Michael Chastaine /s/______
26                                             Michael Chastaine
27                                             Attorney for Peter Kuzmenko
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     Dated: July 20, 2015                       Lee Bickley /s/______
 1
                                                Lee Bickley
 2                                              Assistant United States Attorney
 3                                             ORDER
 4          The court having considered the motion orders as follows:
 5
            An order having heretofore been made in this case authorizing the clerk of this
 6
 7   court to accept the Deed of Trust to secure a bail bond in the matter of Peter Kuzmenko.
 8
     The deeded property is described as follows: property located at 6641 West 4th Street, Rio
 9
     Linda, CA 95673
10
11          Said deed was deposited in the registry of this court in lieu and place of bail for
12
     the appearance of Peter Kuzmenko before the United States District Court for the
13
     Eastern District of California. In accordance with the provisions of the bond given by the
14
15   said defendant; and subsequently the defendant having been returned to custody
16          The Motion to Exonerate Bond as to Defendant Peter Kuzmenko is GRANTED.
17
     The Clerk of this Court shall exonerate said bail and release the above described property
18
19   forthwith. It is further ordered that the clerk shall execute all necessary documents to

20   effectuate this release.
21
            IT IS SO ORDERED.
22
23
24
25
     Dated: 7/20/2015                           /s/ John A. Mendez_______
26
                                                Hon. John A. Mendez
27                                              U. S. District Court Judge
28


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